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1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3
     UNITED STATES OF AMERICA,                       )
4                                                    )
5
                          Plaintiff,                 )     Case No.: 2:09-cr-00302-GMN-PAL
             vs.                                     )
6                                                    )            AMENDED ORDER
     JUAN CARLOS MACIAS-CHAVEZ,                      )              (ECF NO. 170)
7                                                    )
                          Defendant.                 )
8
                                                     )
9

10           Before the Court is the Government’s Motion to Reconsider Order Regarding Re-
11   Test of Narcotics (ECF No. 171), in response to this Court’s Order filed on October 13,
12   2011.
13           Counsel for the Government admits in its Motion that it does not object to the
14   Defendant’s request for a re-test of the controlled substances which were seized in this
15   matter; however, since this matter could not be resolved by Stipulation of the parties, the
16   Court hereby amends its Order filed on October 13, 2011 (ECF No. 170), as follows:
17           IT IS HEREBY ORDERED that in accordance with DEA Lab policies and
18   procedures, the following requirements will be followed:
19           1.    That no more than one (1) gram sample(s) be released. If less than 1 gram
20   remains following analysis, then no more than ½ of that remaining amount be released;
21           2.    That the defense expert be licensed by DEA and provides proof of same, to

22   include DEA registration number to possess controlled substances;

23           3.    That the defense expert personally appears at the DEA Laboratory to

24   receive the sample(s);

25           4.    That the defense expert agrees that the use of DEA Laboratory facilities or


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1    equipment for any testing or analysis of the drug sample(s) be prohibited;
2           5.     That all parties appearing at the DEA Lab for re-weighing or retesting
3    purposes bring and utilize their own equipment such as, but not limited to, gloves, safety
4    glasses, laboratory jacket, and weighing device;
5           6.     The re-analysis shall be completed within 14-days upon receipt of the
6    sample(s);
7           7.     Any sample(s) remaining after defense re-analysis be returned to the
8    originating DEA laboratory within 5-days of the completion of the testing. If the
9    sample(s) is/are completely consumed during the re-analysis, a letter documenting that
10   fact shall be sent to the originating DEA laboratory.
11          DATED this 14th day of October, 2011.
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13                                                 ________________________________
                                                   Gloria M. Navarro
14                                                 United States District Judge
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